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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



ROBERT WAYNE SIGSBY,

               Plaintiff,

v.                                                                     Case No. 1:18-CV-105

RICK SNYDER, et al.,                                                   HON. GORDON J. QUIST
          Defendants.
                               /

                                             OPINION

        Plaintiff, Robert Wayne Sigsby, proceeding pro se, has filed a complaint against various State

of Michigan and Kalkaska County officials and Northern Credit Bureau, a private entity. The

caption of Sigsby’s complaint states, “Complaint for violation of Constitutional rights 42 U.S.C.

1983.” The complaint requests no relief from this Court.

        On February 22, 2018, the magistrate judge issued an order granting Sigsby leave to proceed

in forma pauperis. (ECF No. 6.) Pursuant to 28 U.S.C. § 1915(e)(2), the Court is required to

dismiss any action brought under federal law if the complaint is frivolous, malicious, fails to state

a claim upon which relief can be granted, or seeks monetary relief from a defendant immune from

such relief. 28 U.S.C. § 1915(e)(2); see also Benson v. O'Brian, 179 F.3d 1014, 1016 (6th Cir. 1999)

(holding that "§ 1915(e)(2) applies only to in forma pauperis proceedings"). The Court must read

Sigsby’s pro se complaint indulgently, see Haines v. Kerner, 404 U.S. 519, 520, 92 S. Ct. 594, 596

(1972), and accept his allegations as true, unless they are clearly irrational or wholly incredible.

Denton v. Hernandez, 504 U.S. 25, 33, 112 S. Ct. 1728, 1733 (1992). Stated differently, “[a]lthough

liberal construction requires active interpretation of the filings of a pro se litigant, it has limits.

Liberal construction does not require a court to conjure allegations on a litigant’s behalf, and a
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pleading must provide notice to the opposing party of the relief sought.” Erwin v. Edwards, 22 F.

App’x 579, 580 (6th Cir. 2001) (internal citations omitted).

        For the reasons set forth below, Sigsby fails to state a claim and his complaint must be

dismissed as required by § 1915(e)(2).

        Pursuant to Federal Rule of Civil Procedure 8(a), a complaint must provide “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Detailed factual allegations are

not required, but “a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’

requires more than labels and conclusions, and a formulaic recitation of the elements of a cause of

action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 1964–65 (2007)

(quoting Conley v. Gibson, 355 U.S. 41, 47, 78 S. Ct. 99, 103 (1957)). The court must accept all of

the plaintiff’s factual allegations as true and construe the complaint in the light most favorable to the

plaintiff. Gunasekera v. Irwin, 551 F.3d 461, 466 (6th Cir. 2009). The court must determine

whether the complaint contains “enough facts to state a claim to relief that is plausible on its face.”

Twombly, 550 U.S. at 570, 127 S. Ct. at 1974. “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937, 1949

(2009). Although the plausibility standard is not equivalent to a “‘probability requirement,’ . . . it

asks for more than a sheer possibility that a defendant has acted unlawfully.” Id. (quoting Twombly,

550 U.S. at 556, 127 S. Ct. at 1965). “[W]here the well-pleaded facts do not permit the court to infer

more than the mere possibility of misconduct, the complaint has alleged—but it has not

‘show[n]’—that the pleader is entitled to relief.” Id. at 679, 129 S. Ct. at 1950 (quoting Fed. R. Civ.

P. 8(a)(2)).



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       Other than identifying the persons being sued, Sigsby’s complaint literally contains no facts.

The complaint cites and quotes cases and statutes, and sets forth legal statements and jargon, but

contains not the slightest hint of who did what that might have violated Sigsby’s rights. The

complaint is not even vague; a defendant reading it would have no clue what he or she did wrong.

Therefore, his complaint is frivolous and must be dismissed. See Bell v. United States, No. 13-CV-

05378, 2013 WL 5524109, at *1 (E.D.N.Y. Oct. 4, 2013) (dismissing the complaint because it

“contain[ed] no facts to enable the defendant to understand the claims against it”); Shields v. Adams,

No. 4:10CV1598 AGF, 2010 WL 3487255, at *1 (E.D. Mo. Aug. 30, 2010) (“The instant complaint

does not make sense and contains no facts that would entitle Plaintiff to relief.”).

       An Order consistent with this Opinion will be entered.



Dated: March 5, 2018                                        /s/ Gordon J. Quist
                                                           GORDON J. QUIST
                                                      UNITED STATES DISTRICT JUDGE




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